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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

    IN RE:                                                Chapter 11

    AGWAY FARM & HOME SUPPLY, LLC,                        Case No. 22-10602 (JKS)

                          Debtor.1                        Hearing Date: December 28, 2023 at 10:00 a.m. (ET)
                                                          Re: Docket No. 869


     DECLARATION OF MELISSA DAVIS LOWE IN SUPPORT OF CONSOLIDATED
      SEVENTEENTH MONTHLY AND FINAL FEE APPLICATION OF SHULMAN
     BASTIAN FRIEDMAN & BUI LLP, BANKRUPTCY COUNSEL TO THE DEBTOR,
    FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES
        FOR THE PERIOD FROM JULY 5, 2022 THROUGH NOVEMBER 29, 2023

         I, Melissa Davis Lowe, declare as follows:

         1.      I am a partner with the law firm of Shulman Bastian Friedman & Bui LLP (the

“Firm”) and one of the attorneys primarily responsible for the representation of Agway Farm &

Home Supply, LLC, the reorganized debtor herein (the “Debtor”). Except as otherwise stated, I

have personal knowledge of the facts set forth in this declaration and, if called as a witness, could

and would testify competently to such facts under oath.

         2.      I am submitting this declaration in support of the Firm’s Consolidated Seventeenth

Monthly and Final Fee Application for Allowance of Compensation and Reimbursement of

Expenses For the Period From July 5, 2022 Through November 29, 2023 (the “Application”). All

capitalized terms not otherwise defined herein shall have the meaning ascribed in the Application.

         3.      I submit this declaration to address certain questions raised informally by the Court

related to the Application.




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  The last four digits of the Debtor’s federal tax identification number are 1247. The Debtor’s address is 6606 W.
Broad Street, Richmond, VA 23230.
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       4.         Most of the questions from the Court relate to travel expenses incurred by two of

the Firm’s attorneys, which are addressed below.

       5.         The travel expenses incurred by the Firm relate to two trips from Southern

California to Wilmington, Delaware – one by Mr. Alan Friedman and the other by me. Mr.

Friedman traveled to Wilmington from August 27, 2023 to August 28, 2023 to attend the hearing

on the solicitation motion, as included in the Firm’s 14th monthly fee application. I travelled to

Wilmington from October 18, 2023 to October 20, 2023 to attend the hearing on confirmation of

the Debtor’s plan, as included in the Firm’s 15th monthly fee application.

       6.         To provide additional information on the travel expenses for Mr. Friedman’s travel,

the Firm provides the following:

                  a.     $188.60 covered a one night stay plus government fees and taxes at the

       Sheraton Suites in Wilmington, DE.

                  b.     $1,187.56 covered round trip airfare from Los Angeles to Philadelphia for

       a refundable coach ticket.

                  c.     $89.74 covered parking expense at the Wallypark at the Los Angeles

       airport.

                  d.     $180.00 covered roundtrip flat rate transportation from the Philadelphia

       airport to Wilmington, DE.

       7.         To provide additional information on the travel expenses for Ms. Lowe’s travel, the

Firm provides the following:

                  a.     $787.82 relates to airfare roundtrip on American Airlines, coach ticket,

       from Los Angeles to Philadelphia.




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                 b.    $293.98 relates to an Uber ride from Irvine, California to the Los Angeles

       airport and also a Lyft ride from the Philadelphia airport to the Sheraton Suites in

       Wilmington.

                 c.    $207.80 ($279.80-$72.00 credit) relates to a charge for airfare in order to

       return to Santa Ana instead of Los Angeles from Philadelphia, and remained a coach ticket

       on American Airlines.

                 d.    $41.93 related to meals during the trip, believed to be a lunch at the Los

       Angeles airport, dinner at the Philadelphia airport, and then lunch the next day in

       Wilmington. All meals were for Ms. Lowe only and did not include any alcoholic

       beverages.

                 e.    $367.40 relates to a two night stay at the Sheraton Suites in Wilmington

       which covers the nightly rate ($180 for one night and $154 for the other night) plus $33.40

       in taxes and fees.

       8.        Ms. Lowe’s time entry on November 22, 2023 for 0.2 hours was incomplete and

should have stated: “Review and exchange various correspondence with client reps and plan

administrator re transfer of funds to plan administrator to go effective and dates for final fee

applications.”

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on December 22, 2023 at Irvine, California.


                                                    /s/ Melissa Davis Lowe           .
                                                    Melissa Davis Lowe




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